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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                       Chapter 11

FUSE, LLC, et al.,                                           Case No. 19-10872 (KG)

                          Debtors.1                          (Jointly Administered)

                                                             Re: D.I. 95

    OBJECTION OF AT&T SERVICES, INC. AND DIRECTV, LLC TO THE DEBTORS’
        PROPOSED ASSUMPTION, ASSIGNMENT AND CURE AMOUNT WITH
         RESPECT TO EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                 AT&T Services, Inc. and affiliates including without limitation DIRECTV, LLC

(collectively, “AT&T”), by and through their undersigned attorneys, file this objection to the

Debtors’ Notice of (I) Assumption of Contracts and Leases, (II) Fixing of Cure Amounts, and

(III) Deadline to Object Thereto, dated May 1, 2019 (D.I. 95) (the “Assumption Notice”),

regarding their Contracts (as defined below). In support of this objection, AT&T relies upon and

incorporates herein by reference the Adversary Complaint Seeking Declaratory Relief, dated

May 1, 2019 (Adv. Pro. No. 19-50193 (KG), A.D.I. 4) (the “Adversary Complaint”), which sets

forth in detail many of the breaches of certain of the various agreements between and among

AT&T and the Debtors that the Debtors intend to assume. In further support of this objection,

AT&T respectfully states as follows:




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         The Debtors and the last four digits of their taxpayer identification numbers include: Fuse Media, Inc.
         (9721); Fuse Media, LLC (0560); Fuse, LLC (1888); JAAM Productions, LLC (5499); SCN Distribution,
         LLC (9656); Latino Events LLC (8204); Fuse Holdings LLC (5673); Fuse Finance, Inc. (8683); and FM
         Networks LLC (6500). The Debtors’ headquarters and service address is 700 North Central Avenue, Suite
         600, Glendale, CA 91203.
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                                             BACKGROUND

                1.       On April 22, 2019 (the “Petition Date”), the Debtors each filed voluntary

petitions under chapter 11 of the United States Code (the “Bankruptcy Code”) commencing these

chapter 11 cases. The Debtors have continued in the possession of their property and have

continued to operate and manage their business as debtors in possession under the Bankruptcy

Code.

                2.       On the Petition Date, the Debtors also filed their prepackaged chapter 11

plan and related disclosure statement (D.I. 13, 14). Article VII.A. of the Debtors’ proposed plan

provides that all executory contracts and unexpired leases will be rejected as of the date on which

the proposed plan becomes effective (the “Effective Date”)2, except for those (1) identified in the

plan supplement for assumption, (2) previously assumed pursuant to an order of the Bankruptcy

Court, subject to a separate motion or notice to assumed filed by the Debtors and pending as of

the Effective Date, or (3) previously expired or terminated pursuant to their own terms or by

agreement of the parties thereto.

                3.       On April 23, 2019, the Debtors filed a combined disclosure statement and

plan procedures motion (the “Plan,” D.I. 12), which, among other things, established procedures

for the Debtors’ assumption and assignment of executory contracts and unexpired leases in

connection with the proposed plan. The Debtors disclosed in the Plan Supplement (D.I. 15),

filed the same day, their list of proposed assumed contracts remained “to be determined.” See

Plan Supplement, at 2, n.4.

                4.       On May 1, 2019, the Debtors filed and served the Assumption Notice.

Attached as Exhibit A to the Assumption Notice is the Debtors’ proposed Assumption and Cure

2
        Capitalized Terms not otherwise defined herein shall have the meaning attributed to them in the Adversary
        Complaint or Plan as applicable.


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Schedule, which designates the following AT&T documents entered into by AT&T, and/or its

affiliate DIRECTV, LLC, and the Debtors prior to the Petition Date as contracts that could be

assumed by the Debtors as of the Effective Date:

              a.      Binding Term Sheet- AT&T U-Verse & DIRECTV, Renewal of FM
                      (known as Fuse until 9/30/15) executed as of January 8, 2016 by and
                      between AT&T Services, Inc., DIRECTV, LLC and FM Networks LLC
                      (f/k/a Fuse Networks LLC);

              b.      Letter Agreement dated 4/13/07 between AT&T Services, Inc. and Fuse
                      Networks LLC;

              c.      Affiliation Agreement made as of the 31st of December 2014 between
                      SiTV, LLC a Delaware limited liability company (“Programmer”), and
                      DIRECTV, LLC (the “Affiliation Agreement”)

              d.      Letter Agreement dated 1/7/16 between AT&T Services, Inc., DIRECTV,
                      LLC, on the one hand, and Fuse, LLC on the other hand

              e.      Letter dated 1/8/16 between AT&T Services, Inc., DIRECTV, LLC, on
                      the one hand, and Fuse, LLC on the other hand

(each a “Contract,” and collectively with the Additional Contract defined below, the

“Contracts”). See Assumption and Cure Schedule, at 5. The Assumption and Cure Schedule

further provides that the listed contracts include all amendments, addenda, schedules, other

attachments, side letters, undertakings or other agreements affecting, modifying or otherwise

relating to the Assumed Contracts unless explicitly rejected by Debtors. The Assumption and

Cure Schedule listed a proposed cure amount of $0.00 for each of the Contracts. See id.

                                         OBJECTION

A.     Identification of Contracts

              5.      As an initial matter, a debtor is obligated to identify with specificity which

contracts it intends to assume, Fed, R. Bankr. P. 6006(f)(2). That makes sense, of course,

because in order to obtain the court’s approval to assume and assign a contract under section

365, “the debtor must establish that the decision is one made in its sound business judgment.” In


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re ANC Rental Corp., 277 B.R. 226, 237-38 (Bankr. D. Del. 2002) (citing In re Montgomery

Ward Holding Corp., 242 B.R. 147, 153 (D. Del. 1999)); see also In re Fleming Companies, Inc.,

2004 WL 385517, *1 (Bankr. D. Del. Feb. 27, 2004) (“The decision to assume or reject an

executory contract is a matter within the sound business judgment of the debtor.”); In re

Physiotherapy Holdings, Inc., 506 B.R. 619, 622 (Bankr. D. Del. 2014), rev’d on other grounds,

538 B.R. 225 (D. Del. 2015) (“Debtors’ decision to assume or reject the [a]greements is a matter

of business judgment.”).

               6.     While AT&T has identified another agreement that it believes logically

should be among those the Debtors intend to assume -- a Global Amendment dated as of June 30,

2016 (the “Additional Contract,” which on its face appears to amend one or more of the

agreements the Debtors have sought to assume --, it is not AT&T’s responsibility to identify

those contracts. While AT&T has no objection to that contract being included on the list of

contracts that the Debtors want to assume. AT&T objects to the assumption of any other

contracts that the Debtors have not specifically identified, as, particularly under the expedited

circumstances presented here, AT&T may not be able to identify them or adequately research

whether there are any breaches that would need to be cured. Similarly, the Debtors will be

unable to articulate a business rationale for the assumption or prove adequate assurance of future

performance if they cannot even identify the contracts at issue.

B.     Cure Obligations

               7.     As a condition of any assumption and assignment of the Contracts, AT&T

is entitled to have all defaults cured. Section 365(b)(1) of the Bankruptcy Code provides, in

pertinent part, that if there is a default under an executory contract or unexpired lease, a debtor

may not assume such contract or lease unless the debtor:



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               (A) cures, or provides adequate assurance that the [debtor] will
               promptly cure, such default . . .; (B) compensates, or provides
               adequate assurance that the [debtor] will promptly compensate, a
               party other than the debtor to such contract or lease, for any actual
               pecuniary loss to such party resulting from such default; and
               (C) provides adequate assurance of future performance under such
               contract or lease.

11 U.S.C. § 365(b)(1). Accordingly, the proposed assumption (and subsequent assignment) of

each Contract requires payment to the applicable counterparties of all amounts due under that

Contract, including all default amounts.

               8.     As set forth in detail in the Adversary Complaint, the applicable Debtor,

Fuse, LLC (“Fuse”) is currently in default under one or more of the Contracts. Specifically, Fuse

is in default of the Affiliation Agreement for having breached a most favored nations provision

in the Affiliation Agreement and failing to provide satisfactory programming content under the

Affiliation Agreement.

               9.     AT&T also objects to the Cure Notice to the extent that it does not reflect

the correct cure amount for the Affiliation Agreement. AT&T set forth in state court litigation in

California arising before the commencement of this case various damage theories based on

Fuse’s fraud in the inducement and other breaches of the Affiliation Agreement, and while those

amounts are greater than zero, they are not currently liquidated. Moreover, given the accelerated

timeframe within which AT&T is litigating the assumption (As well as the very limited time the

Court has established for the hearing) there is not adequate time for AT&T to determine the

exact quantum of those damages. To the extent that the Court does determine that there are

breaches that would require a monetary cure, the parties will need additional time to liquidate

those amounts, whether by agreement or through the Court.




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C.     Adequate Assurance of Future Performance

               10.     It is well settled that a debtor seeking to assume an executory contract

must do so cum onere, accepting both its benefits and burdens. See In re Fleming Cos., 499 F.3d

300, 308 (3d Cir. 2007) (quoting In re Italian Cook Oil Corp., 190 F.2d 994, 997 (3d Cir. 1951)).

Pursuant to section 365 of the Bankruptcy Code, in order to assume and assign an executory

contract or lease, a debtor must cure, or provide adequate assurance that it will promptly cure, all

defaults under the underlying contracts, 11 U.S.C. § 365(b)(1)(C) and (f)(2)(B), including

nonmonetary defaults, see In re Empire Equities Capital Corp., 405 B.R. 687, 690–91 (Bankr.

S.D.N.Y. 2009).

               11.     In order to assume and assign the Contracts in their entirety, the Debtors

are required to pay AT&T all outstanding amounts due on each of the purported executory

contracts, including curing all defaults thereunder.

               12.     Whether or not a proposed assignee can provide adequate assurance is a

factual determination that is defined by “commercial rather than legal standards.” Id. at 120

n.10; see also In re Fleming Companies, Inc., 499 F.3d 300, 307 (3d Cir. 2007) (“What

constitutes ‘adequate assurance of future performance’ must be determined by consideration of

the facts of the proposed assumption.”(internal citations omitted)). While the financial capability

of the assignee is a factor to consider, courts must consider many other factors when determining

whether adequate performance of performance exists, including the expertise of the assignee in

the subject matter of the contract, the assignee’s business plan, and whether the assignee has

demonstrated the ability to operate a similar business successfully. See, e.g., In re Glyco

Genesys, Inc., 352 B.R. 568 (Bankr. D. Mass. 2006); In re Washington Capital Aviation &

Leasing, 156 B.R. 167 (Bankr. E.D. Va. 1993); In re Alipat, 36 B.R. 274 (Bankr. Mo. 1984).



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               13.     AT&T has not been provided any specific information regarding the

adequate assurance of future performance by the Debtors that AT&T will get the “benefit of the

bargain” with respect to the Contracts. See In re Kiwi Int'l Air Lines, Inc., 344 F.3d 311, 318 (3d

Cir. 2003) (Although a creditor must perform once an assumption order is issued, “as a matter of

fairness, before requiring the creditor to perform, courts require the debtor in possession to

‘give[] the other contracting party the full benefit of [its] bargain.”’(internal citations omitted)).

While AT&T has sought information in discovery about the same with respect to certain of the

Contracts, it remains the Debtors’ burden to establish such adequate assurance of future

performance with respect to each of the Contracts

                                 RESERVATION OF RIGHTS

               14.     AT&T reserves its right to amend or supplement this objection as

circumstances might require, including, without limitation, regarding the terms of any proposed

order approving a sale and/or assumption of any of the Contracts.

                                          CONCLUSION

               15.     WHEREFORE, AT&T respectfully requests that the Court: (a) condition

any assumption and assignment of its Contracts on entry of an order consistent with this

objection; and (b) grant AT&T such other and further relief as the Court may deem just or

proper.

Dated: May 22, 2019                          MORRIS NICHOLS ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                              /s/ Derek C. Abbott
                                             Derek C. Abbott (No. 3376)
                                             1201 North Market Street, Suite 1600
                                             Wilmington, DE 19801
                                             Telephone: (302) 658-9200
                                             Facsimile: (302) 658-3989
                                             Email: dabbott@mnat.com



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                      and

                      ARNOLD & PORTER KAYE SCHOLER LLP
                      Brian J. Lohan
                      250 West 55th Street
                      New York, NY 10019-9710
                      Telephone: (212) 836-8000
                      Facsimile: (212) 836-6459
                      Email: brian.lohan@arnoldporter.com

                      Counsel for AT&T Services, Inc. and affiliates
                      including without limitation DIRECTV, LLC




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